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 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

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      Movant appearing without an attorney
      Attorney for Movant

                                           UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 In re:                                                                       CASE NO.: 8:23-bk-12060-TA

 STEWART HOMES INC., dba 5 STAR                                               CHAPTER: 7
 HOMES,
                                                                                      ORDER GRANTING MOTION FOR
                                                                                    RELIEF FROM THE AUTOMATIC STAY
                                                                                           UNDER 11 U.S.C. § 362
                                                                                      (Action in Nonbankruptcy Forum)

                                                                              DATE:      2/6/2024
                                                                              TIME:      10:30 a.m.
                                                                              COURTROOM: 5B
                                                                              PLACE:     411 West Fourth Street
                                                                                        Santa Ana, CA 92701

                                                              Debtor(s).

 MOVANT: STEWART HOMES INC., dba 5 STAR HOMES

1. The Motion was:                  Opposed              Unopposed               Settled by stipulation

2. The Motion affects the following Nonbankruptcy Action:

    Name of Nonbankruptcy Action: Wells Fargo Bank, N. A., a national bank association, vs. Stewart Homes, Inc., a
California corporation, dba 5 Star Homes; Capital (360), Inc., a California corporation; David M. Tofolo, an
individual; Amy S. Stewart, trustee of the Stewart Trust; and Does 1-10, inclusive
    Docket number: 8:23-cv-01800-DOC-ADS
    Nonbankruptcy court or agency where the Nonbankruptcy Action is pending: United States District Court, Central
District of California




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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3. The Motion is granted under 11 U.S.C. § 362(d)(1).

4. As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.        Terminated as to the Debtor and the Debtor’s bankruptcy estate.
      b.        Modified or conditioned as set forth in Exhibit                    to the Motion.
      c.        Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce its
                remedies regarding the nonbankruptcy action do not constitute a violation of the stay.

5. Limitations on Enforcement of Judgment: Movant may proceed in the nonbankruptcy forum to final judgment
      (including any appeals) in accordance with applicable nonbankruptcy law. Movant is permitted to enforce its final
      judgment only by (specify all that apply):
      a.        Collecting upon any available insurance in accordance with applicable nonbankruptcy law.
      b.        Proceeding against the Debtor as to property or earnings that are not property of this bankruptcy estate.

6. This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
   of the Bankruptcy Code.

7.         The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
           the same terms and conditions as to the Debtor.

8.         The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

9.         This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of
           180 days, so that no further automatic stay shall arise in that case as to the nonbankruptcy action.
10.        This order is binding and effective in any future bankruptcy case, no matter who the debtor may be, without
           further notice.
11.              Other (specify): The automatic stay is lifted in favor of Wells Fargo Bank, N. A., a national bank
association (WFB”) pursuant to Bankruptcy Code section 362(d)(1) with respect to liquidating WFB’s claim in the WFB
Lawsuit, but to not exercise any rights against any of the Alleged Debtor’s assets.


                                                                            ###




                   Date: February 9, 2024




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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